Case 1:20-cv-00755-RGA-JLH Document 309 Filed 02/18/22 Page 1 of 1 PageID #: 22264

                                                                            Nathan R. Hoeschen
                                                                            I.M. Pei Building
                                                                            1105 North Market Street, 12th Floor
                                                                            Wilmington, DE 19801
                                                                            (302) 298-0709
                                                                            nhoeschen@shawkeller.com



                                             February 18, 2022

  BY CM/ECF & HAND DELIVERY
  The Honorable Jennifer L. Hall
  United States District Court for the District of Delaware
  844 N. King Street
  Wilmington, DE 19801

         Re:     United Therapeutics Corporation v. Liquidia Technologies, Inc.,
                 C.A. No. 20-755-RGA-JLH

  Dear Judge Hall:

        Pursuant to D. Del. L. R. 7.1.4, and to the extent the Court would find it useful,
  Defendant Liquidia Technologies, Inc. respectfully requests oral argument on Defendant’s
  Motion for Summary Judgment of Invalidity of the ‘066 and ‘901 Patents due to Collateral
  Estoppel (D.I. 281).

         Briefing on the motion is complete, and the parties’ submissions may be found at Docket
  Items 282, 290, 291, 292, 293 and 303. Defendant’s reply brief was filed on February 11, 2022.

                                                       Respectfully submitted,

                                                       /s/ Nathan R. Hoeschen

                                                       Nathan R. Hoeschen (No. 6232)


  cc:    Clerk of Court (CM/ECF & by hand delivery)
         All counsel of record (by CM/ECF & e-mail)
